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 AO 442 (Rev. II III)    Arrest Warrant




                                                     UNITED STATES DISTRICT COURT
                                                                                           for the

                                                                               District of Columbia

                        United States of America
                                      v.                                                       )
                                                                                                      Case: 1:23-mj·167
                              Robert Hanna                                                     )
                                                                                                      Assigned To: Magistrate Judge Zia M. Faruqui
                                                                                               )
                                                                                                      Assign. Date: 7/14/2023
                                                                                               )
                                                                                                      Description: Complaint with Arrest Warrant
                                                                                               )
                                                                                               )                                                                            ...
                                  Defendant


                                                                           ARREST WARRANT
To:          Any authorized law enforcement officer


             YOU ARE COMMANDED                               to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)           Robert Hanna
                                          ~~~=====-                                                                                                                               --
who is accused of an offense or violation based on the following document filed with the court:

o      Indictment             o    Superseding Indictment                        o   Information               o   Superseding Information                  11: Complaint
o      Probation Violation Petition                         o    Supervised Release Violation Petition                   o Violation       Notice            0 Order of the Court
This offense is briefly described as follows:

18 U.S.c. § 17S2(a)(I) - Entering and Remaining in a Restricted Building or Grounds,
18 U.S.C. § I 7S2(a)(2) - Disorderly and Disruptive Conduct in a Restricted Building or Grounds,
40 U.S.C. § 5104(e)(2)(D) - Disorderly Conduct in a Capitol Building or Grounds, and
40 U.S.C. § SI04(e)(2)(G) - Parading, Demonstrating, or Picketing in a Capitol Building.
                                                                                                                                                2023.07.1
                                                                                                                                                412:18:26
Date:              07114/2023
                                                                                                                                                -04'00'
                                                                                                                          Issuing officer's     signature


City and state:                           Washington, D.C.                                                     Zia M. Farugui, U.S. Magistrate Judge
                                                                                                                            Printed nO/lIe and title


                                                                                          Return

            This warrant was received on                     (date)     7/1"1/.:.___z.?
                                                                      ______               -       , and the   person was arrested on           (date)        7/1 YI z. J
at   (city and state)        VA-\'TO       1-1   t   ()   I-hO



Date:         7/1'8/ LJ
                                                                                                                        Arresting   officer's    signature



                                                                                                                           Printed name and title
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                       This second page contains personal identifiers provided for law-enforcement use only
                      and therefore should not be filed in court with the executed warrant unless under seal.

                                                              (Notfor Public Disclosure)

Name of defendant/offender:            Robert Hanna
                                      ---------------------------------------------------------------------------
Known aliases:
Last known residence:
Prior addresses to which defendant/offender            may still have ties:


Last known employment:
Last known telephone numbers:
Place of birth:
Date of birth:           1011511984

Social Security number:
Height:                                                                           Weight:
Sex:      Male                                                                    Race:
Hair:                                                                             Eyes:
Scars, tattoos, other distinguishing          marks:




History of violence, weapons, drug use:


Known family, friends, and other associates            (name, relation. address. phone nUlllbel):



FBI number:
Complete description of auto:


Investigative agency and address:              Cincinnati Field Office


Name and telephone numbers (office and cell) of pretrial services or probation officer              (ifapplicable):




Date of last contact with pretrial services or probation officer            (if applicable):
